




















Opinion issued August 11, 2011.

&nbsp;



&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;

In The

Court of Appeals

For The

First District of Texas

____________

&nbsp;

NO. 01-11-00499-CR

____________

&nbsp;

JAMES EDWARD GUZMAN,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;

&nbsp;



On Appeal from the 184th District Court 

Harris County, Texas

Trial Court Cause No. 1284084

&nbsp;

&nbsp;



MEMORANDUM&nbsp; OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant,
James Edward Guzman, pleaded guilty to the offense of assault of a family
member, and, in accordance with his plea bargain agreement with the State, the
trial court sentenced him to confinement for two years.&nbsp; Appellant filed a timely notice of
appeal.&nbsp; We dismiss for lack of
jurisdiction.








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
a plea-bargained case in which the punishment assessed does not exceed the plea
agreement, a defendant may appeal only those matters that were raised by
written motion filed and ruled on before trial, or after obtaining the trial
court’s permission to appeal.&nbsp; Griffin
v. State, 145 S.W.3d 645, 648-49 (Tex. Crim. App. 2004); Cooper v. State,
45 S.W.3d 77, 80 (Tex. Crim. App. 2001); Tex.
R. App. P. 25.2(a)(2).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
trial court’s certification of appellant’s right to appeal in this case states
that this is a plea-bargained case and appellant has no right to appeal.&nbsp; The record supports the correctness of the
certification.&nbsp; Dears v. State,
154 S.W.3d 610, 614-15 (Tex.&nbsp; Crim. App.
2005).&nbsp; We must dismiss an appeal if the
trial court’s certification shows there is no right to appeal.&nbsp; See Tex.
R. App. P. 25.2(d).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly,
we dismiss the appeal for lack of jurisdiction.

We dismiss any pending motions as moot.

PER CURIAM

Panel consists of Justices Jennings,
Bland, and Massengale.

Do not publish.&nbsp;&nbsp; Tex.
R. App. P. 47.2(b).





